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MRC Board satdiadn
oo. —— Greg Lounder, Executive Director, MRC

George Aronson, Principal, CRMC 1¢ yw
be RE: Report on Trip to Fiberight Facility in Virginia ' Lon

QUOC DATE: 19December201) opt

 

 

‘This memorandum describes the trip to the Fit Pps ?
Virginia, which was visited by MRE Board Chaiy Chip Reeves anit MRC executive director p Ae®

Greg Lounder ~ consalten (eng ‘onson On December.18; 2013. ee gh S Ce ~

The Fiberight Facility is a és project that was recently facade to a demonstration scale in ?

order to demonstrate a process for cofvertingiMSW into ol and other fuels or chemicals. ov mV

 

Inguys ry pat present, the facility accepts abopt five tons of MSW every two days, The MSW is solicited it oF
from local towns or haulers on an’on- asis. The facility includes four components: :

A dirty MRF for recycling easily recoverable components of incoming MSW.

A pulp and wash plant for tonyerting the organic components of incoming MSW into pulp.
A chemical plant for converting the pulp into ethanol or other products,

An anaerobic digestion plant for converting slurried organics into bio-gas.

PWN

The MRF

When received, the MSW is off-loaded into a bunker (Figure 1), then Lengiboro an inclined
conveyor that feeds a tromme! with a bag-opener and screens with 2,5-inch holes (Figure 2).
Materials that pass through the trommel (“overs”) are sent to a picking line for removal of large
textiles (Figure 3) and other non-processibles, then stockpiled in‘a-bunker near the autoclave,
Materials that fall through the holes in the trommel screen (“unders”) are sent through a second
trommel having 0.75-inch holes. The overs from the second trommel (which do not contain any
large textiles) are also sent to the bunker near the autoclave. The unders from the second
tromme] screen, which consist mostly of dirt, sand aud stories, are sent to a landfill.

 

Figure J. Bunker for tipped MSW. - Figure 2. Inclined conveyor and tromunel. Figure 3, Recovered textiles

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